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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

GEORGE CLINTON, et al.,

VS CASE NO. 4:99CV242-RH
ARMEN BOLADIAN, et al.,
JUDGMENT

This action came before the Court for consideration with the Honorable Robert L.
Hinkle presiding. The issues have been considered and a decision has been rendered.
Defendants’ counterclaim is dismissed without prejudice pursuant to Federal Rule of
Civil Procedure 41 (a).

ROBERT A. MOSSING, CLERK

February 26, 2001 ODO SO C4 gy
DATE Deputy Clerk: Pamela L. Lourcey

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